Case 21-22080-GLT   Doc 464    Filed 11/30/21 Entered 11/30/21 16:34:10   Desc Main
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                              Document     Page 1 of 20               11/30/21 3:53 pm
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                                                Related to Docket No. 462
Case 21-22080-GLT   Doc 464    Filed 11/30/21 Entered 11/30/21 16:34:10   Desc Main
                              Document     Page 2 of 20
Case 21-22080-GLT   Doc 464    Filed 11/30/21 Entered 11/30/21 16:34:10   Desc Main
                              Document     Page 3 of 20
Case 21-22080-GLT   Doc 464    Filed 11/30/21 Entered 11/30/21 16:34:10   Desc Main
                              Document     Page 4 of 20
Case 21-22080-GLT   Doc 464    Filed 11/30/21 Entered 11/30/21 16:34:10   Desc Main
                              Document     Page 5 of 20
Case 21-22080-GLT   Doc 464    Filed 11/30/21 Entered 11/30/21 16:34:10   Desc Main
                              Document     Page 6 of 20
Case 21-22080-GLT   Doc 464    Filed 11/30/21 Entered 11/30/21 16:34:10   Desc Main
                              Document     Page 7 of 20
Case 21-22080-GLT   Doc 464    Filed 11/30/21 Entered 11/30/21 16:34:10   Desc Main
                              Document     Page 8 of 20
Case 21-22080-GLT   Doc 464    Filed 11/30/21 Entered 11/30/21 16:34:10   Desc Main
                              Document     Page 9 of 20
Case 21-22080-GLT   Doc 464 Filed 11/30/21 Entered 11/30/21 16:34:10   Desc Main
                           Document    Page 10 of 20
Case 21-22080-GLT   Doc 464 Filed 11/30/21 Entered 11/30/21 16:34:10   Desc Main
                           Document    Page 11 of 20
Case 21-22080-GLT   Doc 464 Filed 11/30/21 Entered 11/30/21 16:34:10   Desc Main
                           Document    Page 12 of 20
Case 21-22080-GLT   Doc 464 Filed 11/30/21 Entered 11/30/21 16:34:10   Desc Main
                           Document    Page 13 of 20
Case 21-22080-GLT   Doc 464 Filed 11/30/21 Entered 11/30/21 16:34:10   Desc Main
                           Document    Page 14 of 20
Case 21-22080-GLT   Doc 464 Filed 11/30/21 Entered 11/30/21 16:34:10   Desc Main
                           Document    Page 15 of 20
Case 21-22080-GLT   Doc 464 Filed 11/30/21 Entered 11/30/21 16:34:10   Desc Main
                           Document    Page 16 of 20
Case 21-22080-GLT   Doc 464 Filed 11/30/21 Entered 11/30/21 16:34:10   Desc Main
                           Document    Page 17 of 20




     November 30, 2021
Case 21-22080-GLT   Doc 464 Filed 11/30/21 Entered 11/30/21 16:34:10   Desc Main
                           Document    Page 18 of 20
Case 21-22080-GLT   Doc 464 Filed 11/30/21 Entered 11/30/21 16:34:10   Desc Main
                           Document    Page 19 of 20
Case 21-22080-GLT   Doc 464 Filed 11/30/21 Entered 11/30/21 16:34:10   Desc Main
                           Document    Page 20 of 20
